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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                       )
ANDREW G. MCCABE,                                      )
                                                       )
                       Plaintiff,                      )
                                                       )
        v.                                             )
                                                       )        Civil Action No. 19-2399 (RDM)
MERRICK B. GARLAND,                                    )
in his official capacity as                            )
ATTORNEY GENERAL OF THE                                )
UNITED STATES, et al.,                                 )
                                                       )
                       Defendants.                     )
                                                       )

             JOINT MOTION FOR A LIMITED STAY OF DISCOVERY AND
              45-DAY EXTENSION OF CASE DEADLINES AND EVENTS

       The parties jointly move this Court to stay all discovery in this proceeding, for 45 days

after this motion is granted, and to extend all previously set case deadlines and events by 45 days.

The parties request this relief so that they may explore the possibility of settlement.

       Good cause exists for the requested relief, because the stay and extension would allow the

parties to focus their efforts on discussing settlement expeditiously, free from any competing

obligations and ongoing disputes related to discovery, and without burdening the Court with

potentially unnecessary discovery disputes. The parties propose to update the Court two business

days before the stay’s expiration about whether a further stay and extension is warranted.




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April 23, 2021                                Respectfully submitted,


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